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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                            1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Eastern District of California

                    United States of America
                               v.                                          )
                                                                           )    Case No:       2:95CR00503 -02 JAM
                       ERWIN A. SPRUTH                                     )
                                                                           )    USM No: 08666-097
Date of Original Judgment:         8/11/1998                               )
Date of Previous Amended Judgment: 1/26/2015                               )    DAVID PORTER, AFD
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

       AMENDED ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                    PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant           the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of          288              months is reduced to             235 MONTHS               .
                                              (Complete Parts I and II of Page 2 when motion is granted)




 Except as otherwise provided, all provisions of the judgment dated                          8/19/1998             shall remain in effect.
IT IS SO ORDERED.


Order Date:              1/22/2015                                                                       /s/ John A. Mendez
                    ___________________                              _____________________________________________________
                                                                                                         Judge’s signature

Effective Date:         11/1/2015                                                     JOHN A. MENDEZ, U.S. DISTRICT COURT JUDGE
                    ___________________                              _____________________________________________________
                    (if different from order date)                                                     Printed name and title
